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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


STEPHEN M. GRUVER, ET AL.                                            CIVIL ACTION NO.

VERSUS                                                               18-772-SDD-EWD

STATE OF LOUISIANA THROUGH
THE BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY AND
AGRICULTURAL AND MECHANICAL
COLLEGE, ET AL.

                    TELEPHONE CONFERENCE REPORT AND ORDER

       On June 19, 2020, a telephone conference was conducted before Magistrate Judge Erin

Wilder-Doomes to discuss the Unopposed Motion for Leave to File Second Amended Complaint and

to Apply Pending Motions to Dismiss to the Second Amended Complaint (“Motion”), filed by

Plaintiffs Stephen and Rae Ann Gruver (“Plaintiffs”), with the following participants:

Participants: Donald J. Cazayoux, Jr.                       Patrick Hunt
              Jonathon Fazzola                              Counsel for Defendant,
              John Lane Ewing, Jr .                         Board of Supervisors of LSU
              Counsel for Plaintiffs,
              Stephen and Rae Ann Gruver                    Christopher P. Ieyoub
                                                            Counsel for Defendant,
               Thomas R. Temple, Jr.                        Daltin Babineaux
               Counsel for Defendant,
               Luke St. Germain                             Blaine T. Aydell
                                                            Counsel for Defendant,
               Lauren C. Begneaud                           Philip Clark
               Counsel for Defendant,
               Sean Paul Gott                               Ashley Delaune
                                                            Timothy E. Pujol
               Thomas G. Buck                               Counsel for Defendant,
               Counsel for Defendant,                       Michael C. Comeaux, Jr.
               Zachary T. Hall




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         In the Motion, Plaintiffs seek leave to file their Second Amended Complaint, which dismisses

several defendants with whom Plaintiffs have settled, and adds Allstate Insurance Company of

Canada, Inc., the insurer of Defendant Ryan M. Isto. 1 The Motion also requests that the Court apply

the currently pending Motions to Dismiss, filed by Defendants Philip Clark, 2 Michael Comeaux, Jr., 3

Luke St. Germain, 4 and Haider Laghari, 5 which seek dismissal of the claims in the First Amended

Complaint, to the Second Amended Complaint. 6

         The undersigned advised the parties that the Motion would normally be granted as unopposed

to the extent it seeks leave to amend; however, in cases such as this, where a motion for leave to

amend the complaint is granted and there are pending motions to dismiss, it is generally the practice

of the district judge to deny the pending motions to dismiss without prejudice to their re-filing as

applied to the operative complaint. This is to ensure that the motions to dismiss correspond to the

applicable complaint and to prevent confusion as to the issues to be resolved. Counsel for Clark,

Comeaux, and St. Germain 7 indicated that they did not object to re-filing their respective Motions to

Dismiss to apply to the Second Amended Complaint. The undersigned advised these Defendants to

re-file their Motions to Dismiss in a reasonable amount of time after the Second Amended Complaint

is docketed.

         In light of the foregoing, the Motion shall be granted in part as it relates to Plaintiffs’ request

for leave to file their Second Amended Complaint. The remaining relief sought in the Motion shall

be denied for the reasons discussed during the conference.




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  R. Doc. 207, ¶¶ 5, 7-8.
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  R. Doc. 166.
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  R. Doc. 161.
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  R. Doc. 197.
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  R. Doc. 189.
6
  R. Doc. 207, ¶¶ 15-17. Defendant Daltin Babineaux also filed a Motion to Dismiss (R. Doc. 186), but subsequently
filed a Motion to Withdraw his Motion to Dismiss (R. Doc. 195). The Motion to Withdraw is currently pending.
7
  Counsel for Defendant Laghari did not participate in the telephone conference. However, Plaintiffs represented that all
Defendants consented to the relief sought in Plaintiff’s Motion. R. Doc. 201, pp. 4-5.
                                                             2
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           Accordingly,

           IT IS ORDERED that the Unopposed Motion for Leave to File a Second Amended

Complaint and to Apply Pending Motions to Dismiss to the Second Amended Complaint (“Motion”), 8

filed by Plaintiffs Stephen and Rae Ann Gruver, is GRANTED IN PART. Plaintiffs are granted

leave to file their Second Amended Complaint. Defendants do not oppose granting the motion and

good cause exists, as Second Amended Complaint dismisses Defendants with whom Plaintiffs have

settled and adds Allstate Insurance Company of Canada, Inc. as a party who potentially bears liability

in this matter. The Clerk of Court is directed to docket the Second Amended Complaint 9 into the

record of this matter, which shall become the operative Complaint of Plaintiffs. The remaining relief

sought in the Motion is DENIED.

           Signed in Baton Rouge, Louisiana, on June 23, 2020.



                                              S
                                              ERIN WILDER-DOOMES
                                              UNITED STATES MAGISTRATE JUDGE




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    R. Doc. 207.
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    R. Doc. 207-1.
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